             Case 4:19-cv-07123-PJH Document 723-1 Filed 04/28/25                    Page 1 of 1
                                 UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA

19-cv-07123-PJH                               WhatsApp Inc. v. NSO Group Technologies Limited

                            EXHIBIT and WITNESS LIST
 JUDGE: PHYLLIS J. HAMILTON      PLAINTIFF ATTORNEY:                            DEFENSE ATTORNEY:
                                 Antonio Perez-Marques,                         Joseph Akrotirianakis, Aaron
                                 Micah Block, Greg Andres;                      Craig, Matthew Noller
                                 Luca Marzorati
 JURY SELECTION: April 28, 2025             REPORTER(S): Lee-Anne               CLERK: Kelly Collins
 TRIAL DATE: April 28, 2025                 Shortridge

 PLF   DEF    DATE/TIME         EVI.
 NO.   NO     OFFERED      ID   REC    DESCRIPTION                                                             BY
              8:33 a.m.                Court is in session. Court and Counsel discuss housekeeping
                                       matters outside the presence of the jury.
              9:09 a.m.                Court takes a break.

              9:15 a.m.                Prospective jurors are present and sworn.

              9:22 a.m.                Court is in session. Voir dire begins.

              11:02 a.m.               Court and prospective jurors take a break.

              11:23 a.m.               Court is back in session. Prospective jurors are present. Voir
                                       dire continues.
              12:01 p.m.               Prospective juror #6 is excused.

              1:12 p.m.                Prospective jurors are on lunch break.

              1:13 p.m.                Court and Counsel discuss housekeeping matters.

              1:25 p.m.                Court takes a lunch break.

              2:15 p.m.                Prospective jurors are present.

              2:18 p.m.                Court is back in session. Jury selection continued as sidebar
                                       with counsel.
              3:05 p.m.                8 jurors are selected and sworn. Court reads preliminary
                                       instructions to jury.
              3:25 p.m.                Jurors are admonished and excused until 4/29/2025 at 8:30 a.m.

              3:25 p.m.                Court and Counsel discuss housekeeping matters.

              3:42 p.m.                Court is adjourned until 4/29/2025 at 8:00 a.m.




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